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 4   Telephone: (559)497-4000
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                )   CASE NO. 1:11-CR-00269 AWI-DLB
                                              )
12                         Plaintiff,         )   STIPULATION AND
                                              )   ORDER FOR SCHEDULING OF CHANGE
13   v.                                       )   OF PLEA HEARING
                                              )
14   MOHAMMAD MICHAEL ODEH,                   )
                                              )
15                         Defendants.        )
                                              )
16                                            )
17          IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Mark Broughton, attorney for Mohammad Michael Odeh, that
20   a status conference currently set for July 23, 2012 before the
21   Honorable Dennis L. Beck, U.S. Magistrate Judge, at 1:00 p.m. be
22   vacated.    The parties further request that the case be set for a ///
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 1   change of plea before the Honorable Anthony W. Ishii, Chief U.S.
 2   District Court Judge, on Monday, July 23, 2012 at 1:30 p.m.
 3
     Dated: July 20, 2012                    Respectfully submitted,
 4
                                             BENJAMIN B. WAGNER
 5                                           United States Attorney
 6
                                        By    /s/ Kimberly A. Sanchez
 7                                           KIMBERLY A. SANCHEZ
                                             Assistant U.S. Attorney
 8
     Dated: July 20, 2012                    /s/ Mark Broughton
 9                                           MARK BROUGHTON
                                             Attorney for Mohammad Michael Odeh
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13
              IT IS SO ORDERED.
14
               Dated:   July 20, 2012             /s/ Dennis L. Beck
15   3b142a                                  UNITED STATES MAGISTRATE JUDGE
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